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      Fill in this information to identify the case:

      Debtor 1    Beth C. Cubit fka Beth C Sipler

      Debtor 2      Ethan J. Vigneault-Cubit
      (Spouse, if filing)

      United States Bankruptcy Court of Maryland

      Case number 24-13338




 Official Form 410S2
 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
 the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
 bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

 File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



    Name of creditor: Freedom Mortgage Corporation                          Court claim no. (if known): 8

  Last four digits of any number you use to
  identify the debtor’s account: 3522

  Does this notice supplement a prior notice of
  postpetition fees, expenses, and charges?
            No
           Yes. Date of the last notice:            /   _/


  Part 1: Itemize Postpetition Fees, Expenses, and Charges
  Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include
  any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has
  previously approved an amount, indicate that approval in parentheses after the date the amount was incurred.


    Description                                                                 Dates incurred                                 Amount

    1. Late charges                                                                                                  (1)   $ 0.00
    2. Non-sufficient funds (NSF) fees                                                                               (2)   $ 0.00
    3. Attorney’s fees                                                    05/06/2024 Plan review $250                (3)   $ 250.00
    4. Filing fees and court costs                                                                                   (4)   $ 0.00
    5. Bankruptcy/Proof of claim fees                                                                                (5)   $ 0.00
    6. Appraisal/Broker’s price opinion fees                                                                         (6)   $ 0.00
    7. Property inspection fees                                                                                      (7)   $ 0.00
    8. Tax advances (non-escrow)                                                                                     (8)   $ 0.00
    9. Insurance advances (non-escrow)                                                                               (9)   $ 0.00
  10. Property preservation expenses. Specify:                                                                      (10)   $ 0.00
  11. Other. Specify:                                                                                               (11)   $ 0.00
  12. Other. Specify:                                                                                               (12)   $ 0.00
  13. Other. Specify:                                                                                               (13)   $ 0.00
  14. Other. Specify:                                                                                               (14)   $ 0.00

  The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
  See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.




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    Debtor1    Beth C. Cubit fka Beth C Sipler                            Case number (if known) 24-13338
               First Name           Middle Name      Last Name




    Part 2: Sign Here
    The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address
    and telephone number.

    Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent. (Attach copy of power of attorney, if any.)



    I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
    knowledge, information, and reasonable belief.

     /s/Ryan Srnik
         Signature
                                                                                  Date 07/30/2024



    Print: Ryan Srnik 30811
           First Name           Middle Name          Last Name                    Title Attorney



    Company Brock & Scott, PLLC

    Address 3825 Forrestgate Dr.
              Number                     Street


              Winston-Salem, NC 27103
               City         State        ZIP Code


    Contact phone 844-856-6646                                                    Email M D B K R @ b r o c k a n d s c o t t . c o m




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                                     CERTIFICATE OF SERVICE

I hereby certify that on the 30th day of July, 2024, I reviewed the Court’s CM/ECF system and it
reports that an electronic copy of the Notice Of Postpetition Mortgage Fees, Expenses, And Charges
will be served electronically by the Court’s CM/ECF system on the following:

Brian A Tucci, Chapter 13 Trustee

Eric S. Steiner, Debtor’s Attorney

I hereby further certify that on the 30th day of July, 2024, a copy of the Notice Of Postpetition
Mortgage Fees, Expenses, And Charges was also mailed first class mail, postage prepaid to:

Beth C. Cubit
12102 Overlook Drive
Greensboro, MD 21639

Ethan J. Vigneault-Cubit
12102 Overlook Drive
Greensboro, MD 21639



                                              /s/Ryan Srnik
                                              Andrew Spivack, MD Fed. Dist. No. 21497
                                              Ryan Srnik, MD Fed. Dist. No. 30811
                                              M. Christine Maggard, MD Fed. Dist. No. 31067
                                              Attorney for Creditor
                                              BROCK & SCOTT, PLLC
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